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15

16                               UNITED STATES DISTRICT COURT

17                                        DISTRICT OF NEVADA

18

19     TESLA, INC.,                                 Case No. 3:18-cv-00296-LRH- CLB
                             Plaintiff,
20
       v.                                          DECLARATION OF JEANINE
21                                                 ZALDUENDO IN SUPPORT OF TESLA,
       MARTIN TRIPP,                               INC.’S EMERGENCY MOTION FOR
22                                                 AN ORDER DIRECTING MARTIN
                             Defendant.            TRIPP TO CEASE DISSEMINATION
23                                                 OF TESLA’S CONFIDENTIAL
                                                   INFORMATION; AN ORDER TO
24                                                 SHOW CAUSE RE MONETARY
                                                   SANCTIONS; AND RELATED RELIEF
25

26
       AND RELATED COUNTERCLAIMS
27

28
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 1    I, Jeanine Zalduendo, declare as follows:

 2           1.      I am a member of the bar of the State of California and an associate at Quinn

 3    Emanuel Urquhart & Sullivan, LLP, attorneys for Plaintiff and Counterclaim Defendant Tesla,

 4    Inc. I make this declaration of personal, firsthand knowledge, and if called and sworn as a witness,

 5    I could and would testify competently thereto.

 6           2.      I submit this declaration in support of Tesla’s Emergency Motion Directing Martin

 7    Tripp to Cease Dissemination of Tesla’s Confidential Information; An Order To Show Cause

 8    Regarding Monetary Sanctions; and Related Relief (“Emergency Motion”).

 9           3.      On Friday, August 7, 2020, Defendant Martin Tripp made available on Twitter a

10    link to a public Google Drive folder that housed voluminous materials related to this litigation.

11    Mr. Tripp also posted numerous videos on YouTube discussing this case and Tesla confidential

12    information.

13           4.      Among the materials Mr. Tripp made publicly available are volumes of the

14    documents produced by Tesla in this case, most of which are designated “Confidential,”

15    transcripts and videos for depositions in this case, many also designated “Confidential,” and

16    Tesla’s confidential mediation documents. Attached hereto as Exhibit 1 is a true and correct copy

17    of a screenshot of the confidential files made available on Mr. Tripp’s Google Drive for the

18    deponent Sean Gouthro.

19           5.      Upon learning of Mr. Tripp’s release of confidential information on the afternoon

20    of August 7, 2020, I emailed counsel for Mr. Tripp, requesting that Tesla’s confidential

21    information be removed from Mr. Tripp’s Twitter, Google Drive, YouTube, and any other public

22    location. Attached hereto as Exhibit 2 is a true and correct copy of my August 7, 2020 email to

23    Mr. Tripp’s counsel.

24           6.      Mr. Tripp’s counsel replied to my email, informing me that they had “advised Mr.

25    Tripp of his obligations under the protective order and its application to the material he posted.”

26    Attached hereto as Exhibit 3 is a true and correct copy of Mr. Tripp’s counsel’s August 7, 2020

27    email to me.

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 1           7.      Shortly thereafter, Mr. Tripp posted to Twitter my email to his counsel requesting

 2    the removal Tesla’s confidential information, with the comment, “No Jeanine I don’t think I

 3    will…” Attached hereto as Exhibit 4 is a true and correct copy of Mr. Tripp’s August 7, 2020

 4    tweet of my email to his counsel.

 5           8.      Mr. Tripp then sent me and other Tesla counsel a harassing email, calling us

 6    “greedy bastards” and appearing to condition his removal of Tesla confidential information.

 7    Attached hereto as Exhibit 5 is a true and correct copy of Mr. Tripp’s August 7, 2020 email to

 8    counsel for Tesla.

 9           9.      Approximately an hour after Mr. Tripp posted to Twitter my email to his counsel,

10    I began receiving harassing phone calls on my work and personal cell phones. Attached hereto as

11    Exhibit 6 is a tweet posted to Mr. Tripp’s Twitter page on August 7, 2020, confirming that one of

12    Mr. Tripp’s Twitter followers had called me.

13           10.     Attached hereto as Exhibit 7 is a true and correct copy of a second August 7, 2020

14    email I sent to Mr. Tripp’s counsel, meeting and conferring on Tesla’s request that its confidential

15    information be immediately removed from Mr. Tripp’s Twitter, YouTube, Google Drive, and any

16    other public location, or Tesla would be filing this Emergency Motion.

17           11.     Despite my repeated requests that Tesla’s confidential information be removed, it

18    remained available via Mr. Tripp’s Twitter account until the afternoon of August 8, 2020.

19           12.     The information that Mr. Tripp made publicly available on August 7 and 8, 2020,

20    is now being posted on Twitter by other individuals who accessed the information in Mr. Tripp’s

21    public Google Drive folder. Mr. Tripp continues to retweet such posts. Attached hereto as

22    Exhibit 8 is a true and correct copy of Mr. Tripp’s August 8, 2020 retweet of another user’s post

23    containing Tesla’s confidential information related to this litigation, and August 10, 2020 tweets

24    from two other Twitter users confirming they had downloaded all of the files that Mr. Tripp had

25    made available on Google Drive.

26           13.     In addition, Mr. Tripp stated in a YoutTube video he posted on August 8, 2020,

27     that if the links to the documents he has posted get taken down, he has “other avenues” to

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 1     disseminate the material, including other people who will post it. This video is available at:

 2     https://www.youtube.com/channel/UC0qdRyOmbezjGXMOmHQylYQ.

 3           14.      A post on Mr. Tripp’s Twitter account indicates that between August 7 and August

 4    9, 2020, Mr. Tripp’s Twitter followers increased in number from three to over a thousand.

 5    Attached hereto as Exhibit 9 is a true and correct copy of an August 9, 2020 tweet confirming the

 6    growth in the number of Mr. Tripp’s Twitter followers.

 7           15.      Attached hereto as Exhibit 10 is a true and correct copy of a selection of Mr.

 8    Tripp’s August 7, 2020 tweets, which state the following:

 9                “Part 1 - Introduction to my story of tesla and musk. Shedding the light on the
                   TRUTH of what they have done to myself, Family, their Employees, and the entire
10
                   world. For the first gift to you, I give you the MUSK DEPOSITION [link omitted]
11                 you would be so kind as to provide a small donation, I will need it now, more than
                   ever. Thanks! [link omitted]”
12
                  “Video 4 is up and live, as well as gDrive has all Discovery, Complaint,
13                 Whistleblower (Meissner docs, including Termination Letter to him), and currently
                   adding Depositions one by one.”
14
                  “Discovery has an Index to make it easy to search for anything in particular.”
15                “I'm doing my best to get this stuff out before I'm silenced.”
16                “tesla's attorneys have reached out to my old attorneys for me to immediately remove
                   all docs. I WILL NOT STOP UNTIL EVERYTHING IS RELEASED and the world
17                 knows about it!”
18                FYI, I'm just going down the Discovery folder from 1 - 15,000+ If you think it is out
                   of hand, please tell me to stfu (or mute me). Otherwise I am going to just keep on
19                 chugging away a few every day. There's a LOT to say. And, I was HEAVILY
20                 immersed in all of it! *My JOB*

21           16.      At least one person has confirmed to Mr. Tripp on Twitter that they have made a
22    donation to Mr. Tripp’s Go Fund Me campaign in response to his request for donations. Attached
23    hereto as Exhibit 11 is a true and correct copy of the tweet confirming a donation to Mr. Tripp’s
24    Go Fund Me campaign.
25           17.      Mr. Tripp has also tweeted descriptions of information designated “Confidential –
26    Attorneys’ Eyes Only.” Attached hereto as Exhibit 12 is a true and correct copy of Mr. Tripp’s
27    August 10, 2020 tweets explaining “Attorneys’ Eyes Only” information.
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 1           I declare under penalty of perjury under the laws of the United States of America that the

 2    foregoing is true and correct and that this document was executed in Los Angeles, California.

 3           DATED: August 10, 2020

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                                                  By
 6                                                  Jeanine Zalduendo

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